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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:
                                                    CHAPTER 11
 THE KRYSTAL COMPANY, et al.,
                                                    CASE NO. 20-61065-PWB
       DEBTORS.
                                                    (Jointly Administered)

    JOINT STIPULATION REGARDING PRE-PETITION CLAIM OF GAM
       DEVELOPMENT, LLC AND DEADLINE TO FILE THE SAME

       NOW COME The Krystal Company (“Debtor”) and GAM Development, LLC.,

(“GAM”), a landlord in the above-styled jointly administered bankruptcy case, Case No.

20-61065-pwb (“Case”), and file this Joint Stipulation regarding GAM’s pre-petition

claim: GAM shall have through and including June 15, 2020, to file its pre-petition claim

in the Case.

       This 19th day of May 2020.

                                       Small Herrin, LLP
                                       Counsel to GAM Development, LLC

                                       By:    /s/ Anna M. Humnicky
                                                Gus H. Small
                                                Georgia Bar No. 653200
                                                Anna M. Humnicky
                                                Georgia Bar No. 377850
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                                         KING & SPALDING LLP
                                         Counsel for the Debtor in Possession

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                    UNITED STATES BANKRUPTCY COURT
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 IN RE:
                                                    CHAPTER 11
 THE KRYSTAL COMPANY, et al.,
                                                    CASE NO. 20-61065-PWB
       DEBTORS.
                                                    (Jointly Administered)

                            CERTIFICATE OF SERVICE

      I, ANNA M. HUMNICKY, certify that I am over the age of 18 and that on May 19,
2020, I served copies of the foregoing JOINT STIPULATION REGARDING PRE-
PETITION CLAIM OF GAM DEVELOPMENT, LLC, by using the Bankruptcy Court’s
Electronic Case Filing program which sends a notice of the above-listed document and an
accompanying link to the document to the parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program.

      Dated: May 19, 2020.

                                       Small Herrin, LLP
                                       Counsel to GAM Development, LLC

                                       By:    /s/ Anna M. Humnicky
                                                Gus H. Small
                                                Georgia Bar No. 653200
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